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 3                                                         January 7, 2021

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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12    RAMON MCNEAL,                            Case No.: 2:20-cv-07760-SB-PVC
13               Plaintiff,                    Hon. Stanley Blumenfeld, Jr.
14       v.
15                                             ORDER FOR DISMISSAL WITHOUT
      AMUSEMENT INDUSTRY, INC., A              PREJUDICE
      CALIFORNIA CORPORATION; AND
16    DOES 1-10,
17                                             Action Filed: September 14, 2020
                 Defendants.                   Trial Date: Not on Calendar
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                              ORDER FOR DISMISSAL WITHOUT PREJUDICE
     Case 2:20-cv-07760-SB-PVC Document 21 Filed 01/07/21 Page 2 of 2 Page ID #:113



 1          Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2    it, and being fully advised finds as follows:
 3          IT IS ORDERED THAT:

 4          Plaintiff Ramon McNeal’s (“Plaintiff”) action against Defendant Amusement
 5    Industry, Inc. (“Defendant”) is dismissed without prejudice. Each party will be
 6    responsible for their own fees and costs.
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      Dated: January 7, 2021
 9                                                       Hon. Stanley Blumenfeld, Jr.
                                                         United States District Judge
10                                                       Central District of California
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                            ORDER FOR DISMISSAL WITHOUT PREJUDICE
